719 F.2d 772
    Joe BENHAM, Terry E. Anthony and Woodrow Biddle,individually and on behalf of all others similarlysituated, Plaintiffs-Appellees,v.Joe EDWARDS and John R. Branning, individually and in theirofficial capacities, Defendants-Appellants.
    No. 80-9052.
    United States Court of Appeals,Fifth Circuit.*Unit B
    Nov. 3, 1983.
    
      Carol Atha Cosgrove, Asst. Atty. Gen., Atlanta, Ga., for defendants-appellants.
      Robert B. Remar, Phyllis J. Holmen, Douglasville, Ga., Howard Sokol, Milledgeville, Ga., Kay Giese, Dalton, Ga., for plaintiffs-appellees.
      Appeal from the United States District Court for the Northern District of Georgia;  Harold L. Murphy, Judge.
      ON REMAND FROM THE SUPREME COURT OF THE UNITED STATES
      Before RONEY and ANDERSON, Circuit Judges, and TUTTLE, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      The judgment heretofore entered in this case, 678 F.2d 511, having been vacated by the Supreme Court, --- U.S. ----, 103 S.Ct. 3565, 77 L.Ed.2d 1406, and the case having been remanded to this court for further consideration in light of Jones v. United States, 463 U.S. ----, 103 S.Ct. 3043, 77 L.Ed.2d 694 (1983), and the parties' post-remand briefs having been considered, the case is now REMANDED to the district court for further proceedings not inconsistent with the decision and opinion of the Supreme Court in Jones v. United States.
    
    
      
        *
         Former Fifth Circuit case, Section 9(1) of Public Law 96-452 October 14, 1980
      
    
    